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        EXHIBITB
           Case 01-01139-AMC                  Doc 22427-2            Filed 07/13/09           Page 2 of 32




                                                                                                        I.MF·LQP
                                            ASSIGNMENT OF CLAIM

 1, Identification of the parties:
Sell~r:
NATIONAL UNION FIRE INSURANCE COMPANY OF PIITSBURG, PA
70 Pine Street
New York, NY 10270
Attn:rAN"(~ ;:r r~ ... ~~~ 1
Tel; U" •.\ '11      :s ~ "
                  Q 'I

Fax: \,>-,),\ '} h /'1- 61


with a copy to:
Zeichner Ellman & Krause LLP
575 Lexington Avenue
New York, NY 10022
Attn: Michael S. Davis
Tel:    (212) 826-5311
Fax: (866) 213-9038


Buyers:
LONGACRE MASTER FUND, LTD. and
LONGACRE CAPITAL PARTNERS (QP), L,P.
810 Seventh Avenue, 22nd Floor
New York, NY 10019
Tel:      212-259-4305
Fax:      212-259-4343
Attn:     Vladimir Jelisavcic

2,        (a) By this Assignment of Claim ("Assignment"), Seller, its successors and assigns, for good and
valuable consideration, the sufficiency of which is hereby acknowledged by Seller, absolutely and
unconditionally sells, transfers and assigns unto Buyers, their successors and assigns, all rigllts, title and interest
fcn and to the claim(s) and any reclamation elaim(s) as more fully defined below (the "Claim") of Seller against
W.R. GRACE & CO.-CONN., et al. ("Debtor"), the debtor-in-possession in the Chapter I J reorganization case,
Case No, 01-01140 (the "Case"), in the United States Bankruptcy Court for the District of Delaware (the
"Bankruptcy COUll"). The consideration paid by Buyers to Seller for the Claim is set forth on Exhibit A annexed
hereto and made a part hereof (the "Consideration"). Tbe Claim is defined as, without limitation, all of Seller's
right, title and interest in and to the Order (defined below) Or the Proof of Claim (defined below), all cure
amounts paid by Debtor in connection with the assumption of contracts related to such claims(s) or the Proof of
Claim; all rights to receive principal, interest, all rights of stoppage in tnmsit, replevin and reclamation, fees,
expenses, damages, penalties and other amounts in respect of or in connection with any of the foregoing; and all
other claims, causes of action and voting and other rights arising under or relating to any of the foregoing,
including, without limitation, all of Seiler'S rights to receive cash, securities, instruments and/or other property
or distributions issued in connection with any of the foregoing or dle Case.

        (b) Buyers hereby agree that the payment of the Consideration shall be completed within two (2)
business days followjng the Order (as defined below) being made final and non-appealable. Buyers shall cause
the Consideration to be delivered to the Seller in accordance with the wiring instructions set forth as Exhibit A.


3. Seller represents and warrants the following:




                                                                                                                   L{J1475
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 [ x ] YES, PROOF OF CLAIM #9553 HAS been duly and timely filed in the Case in the aggregate amount of
 $46,971,764.00 (the "Proof afClaim Amount") and a true and such proof of claim is attacbed to this Assignment
 (collectively, the "Proof of Claim"). The Proof of Claim has been modified and acknowledged by the D¢btor
 pursuant to that certain Order Authorizing Debtors' Settlement with National Union and Claimanl$ and the
 related Settlement Agreement and Mutual Release (the "~') to an allowed unsecured, pre-petition, non­
 priority claim against the Debtor in the amount of $9,806,0 18.00 (the "Allowed Amount") and a true copy ofthe
 Order has been attached to this Agreement. Buyers shall be deemed to be the owner of the Claim in the
 Allowed Amount, subject to the leI'ms of this Assignment, and shall be entitled to identify itself as the owner of
 the Proof of Claim on the records orthe Bankruptcy Court.

 [ J NO, a PROOF OF CLAIM HAS NOT been filed in the Case. The agreements, instruments, invoices,
 purchase orders, proofs of delivery and other documents evidencing the Claims support the filing of II proof of
 claim against the Debtor in the amount of <~ize> (the "Proof of Claim AmQunt").

 4. Seller further represents and warrants that: (a) the Claim is allowed unsecured. pre-petition, nOll-priority claim
 against the Debtor in the amount of the Allowed Amount (b) the Claim is a valid. enfofceable claim against the
 Debtor; (c) no consent. approval, filing or corporate. partnership or other action is required as a condition to. or
 otherwise in connection with. the execution. delivery and performance of this Assignment by Seller; (d) this
 Assignment has been duly authorized, executed and delivered by Seller and Seller has the requisite power and
 authority to execute, deliver and perform this Assignment; (e) this Assignment constitutes the valid. legal and
 binding agreement of Seller. enforceablo against Seller in accordance with its telms; (f) it has not filed II petition
 seeking protection under the Bankruptcy Code, or admitted its inability to. or failed lo. pay its debts generally a~'
they become due; (g) no payment or other distribution has been received by Seller, or by any third party on
 behalf of Seller. in full or partial satisfaction of, Of in connection with, the Claim; (h) no portion of the Claim has
 been sold, assigned or pledged to any third party in whole or in part; (i) the Claim is not subject to any factoring
agreement; 0) Seller owns and has and is hereby selling to Buyers good and sole legal and beneficial title to the
Claim free and clear of any and all liens, security interests, encumbrances or claims of any kind or natur~
whatsoever; (k) the basis for the Claim is amounts due and owing by the Debtor arising from the issuance of
surety bonds to Debtor; (I) true and complete copies of all agreements, instruments, invoices, purch~se orders-,
proofs of delivery and other documents evidencing Of relating to the Claim will be, at Buyers' option. delivered
ito Buyers prior to closing of this Assignment andlor maintained ill good condition by SeHer until the Bankruptcy
Court enters a final decree closing the Case and delivered to Buyers within 5 business days of Buyers' request;
(m) Seller has no liability or obligation related to or in connection with the Claim or the Case; (n) other than the
Proof of Claim. no proof of claim has been or will be filed by or on behalf of Seller in the Case or IIny related
proceeding; (o) no objection to the Claim has been filed or threatened; and (p) the Claim is not subject to any
defense. claim or right of setoff. reduction, impairment, avoidance, disallowance, subordination or preferencQ
a,ctioll, in whole or in part, whether on contractual, legal or equitable grounds, that have been or may be asserted
by or 011 behalf of the Debtor or any other party to reduce the amount of the Claim or affect its validity. priority
or enforceability.

5. Seller is aware that the consideration being paid by Buyers hereunder may differ both in kind and amount
from the amount ultimately distributed with respect to the Claim pursuant to any plan of reorganization
confirmed for the Debtor. Seller represents that it has adequate infonnation concerning the financial condition
of the Debtor and the Case to make an informed decision regarding the sale of the Claim and thai it has
independently and without reliance on Buyers, and based on such information as Seller has deemed appropriate.
made its own decision to enter into this Assignment. Seller is aware that information which may be pertinent to
Sdler's decision to transfer the Claim is available to Seller and can be obtained from the Bankruptcy Court:;;
files. Seller further represents that it is not and has never been an "insider" of the Debtor (as defined in Sectio!)
101(3l) ofthe Bankruptcy Code) or II member of any official or unofficial committee in respect of the Case.

6. Seller acknowledges and agrees that (a) Buyers currently may have, and later may come into possession of;
information relating to the Debtor that is not known to Seller and that such information may be material to




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Seller's decision to assign the Claim to Buyers ("Seller Excluded Information"); (b) Seller bas detennined to
assign the Claim notwithstanding its lack of knowledge of the Seller Excluded lnfonnation: and (..:) Buyers shaH
have no liability to Seller, and Seller waives arid releases any claims that it might have against Buyers with
respect to the non-disclosure of the Seller Excluded Information.

7. Selledurther acknowledges and agrees that: (a) Buyers are not assuming any of Seller's obligations under that
certain Settlement Agreement and Mutual Release, dated liS of November 13, 2007 (the "Settlement
Agreement"), among the Debtor and its 61 affiliated entities that are also Debtors in the Case, Seller and its
affiliates, and Reaud, Morgan & Quinn, Inc. and Environmental Litigation Group, P.C. and their respective
clients (collectively, the "Claimaptt); (b) Seller shall maintain sole responsibility f<lr payment of the Payment
Amount (as defined in the Settlement Agreement) to the Claimants under the terms of the Settlement
Agreement; and (c) Seller's failure to pay the Payment Amount to the Claimants in accordance with the terms of
the Settlement Agreement shall constitute an "Jmpainnent" of the Claim under Section 9 of this Assignment and
tbe Buyers shal I be entitled to exercise all of their rights and remedies under Section 9 as a result of such failure.

 8. Buyers represent and warrant and covenant to SelJer that as of the date hereof: (/I) no consent, appmval, Hling
or corporate, partnership or other action is required as a conditi<ln to, or otherwise in connection with, the
execution, delivery and perfolmance of this Assignment; (b) (his Assignment has been duly authorized, executed
and delivered by Buyers and Buyers have the requisite power and authority to execute, deliver and perfonn this
Assignment and the transactions contemplated by this Assignment are not in contravention of any law, order,
regulation or agreement by whicb Buyers are bound; (c) elleh Buyer (i) is a sophisticated buyer with respect to
the sale of the Claim, (ii) has adequutc information concerning the business and financial condition of DebtQ~
and the status of thc Case to make an informed decision regarding the sale of the Claim, (iii) has independently
and without reliance upon Setler, and based Oil such information as Buyer has deemed appr<lpriate, made its own
analysis and decision to enter into this Assignment, and (iv) is aware that tbe consideration being paid by it
hereunder may differ both in kind and amount froln the amount ultimately distributed with respect to the Claim
pursuant to any plan of reorganization which is confirmed for the Debtor, any liquidation or any other
distribution in the Case; (d) Buyers acknowledge that Seller has not given Buyers any investment advice, credit
information, or opinion on whether the purchase oCthe Claim is prudent; (e) Buyers acknowledge lhat (i) Seller
currently may have, and later may come into possession of, infonnation with respect to the Claim, Debtor, or
any of its affiliates that is not known to Buyer and that may be matenal to a decision to purchase the Claim
("Buyer Exclulkd Itt/ormation"), (ii) Buyers have not requested to receive the Buyer Excluded Infonnation anq
Duyers have determined to purchase the Claim notwithstanding its lack of knowledge of the Buyer Excludep
lnfonnation, (iii) infonnation which may be pertinent to Buyers' decision to purchase tllC Claim is availa~le.tp
Buyers and rnay be obtained from the Bankruptcy Court's files, the Debtor, and other public sources, and (iv)
without limiting allY of the representations and warranties of Seller herein, Seller shall have no liability to
Buyers. and Buyers waive and release any claims tllat it might have against Seller or any agents, controlling
persons, officers, members, managers, directors, and employees of Seller whether under applicable securities
laws or otherwise, with respect to the nondisclosure oftile Buyer Excluded Infonnation.


9. In the event lill or any part of the Claim is either (a) objected to; (b) impaired by the commellcementor notice
 from Debtor of any action or proceeding including, but not limited to any proceeding which seeks to reduce al!
c)r part of the Allowed Amount or provide less favorable treatment to the Claim than other unsecured claims,
including the timing of payments or distributions or (c) offset, disallowed, subordinated, or otherwise impaired,
in whole or in part, in the Case for any reason whatsoever, including, without limitation, pursuant to an order of
the Bankruptcy Court (whether or not such order is appealed), (collectively, an "Imp!lirmenf'), Seller agrees to
immediately repay, on demand of Buyers (which demand shall be made at Buyers' sole option), an amount equal
to the portion of the Allowed Amount subject to the Impairment multiplied by the Purehase Rate, plus interest
thereon at 10% per annum from the date hereof to the date of repayment, provided, however, that such II demanq
by Buyers shall not be deemed an election of remedies or any limitation on any other rights that Buyers may               <

have hereunder or under applicable law. In the event an order is entered in the Bankruptcy Court disapproving             i.
the transfer of the Claim, or in the event that the Bankruptcy Court does not substitute Buyers for Seller, Sel.lel'


                                                                                                                          I'
                                                                                                                          ;




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 agrees to immediately repay, upon demand of Buyers, the consideration paid by Buyers hereunder. plus interest
 t.hereon at 10% per annum from the date hereof to the date of repayment.

10. Seller agrees that in the event Seller receives any payments or distributions or notices with respect to or
relating to the Claim, Seller shall (a) accept the same as Buyers' agent, (b) hold the same in trust on behalf of
and for the sole benefit of Buyers, and (c) in the case of cash ("Cash Distribution"), promptly deliver the same
forthwith to Buyers (free ohny withholding, set-off, claim or deduction of any kind), within 2 busirl~ss days. In
the case of distributions in the fonn of securities. Seller shall (i) notify Buyers immediately of Seller's receipt of
such distributions and (ii) immediately deposit such securities in Seller's brokerage aC¢Ount and (iii) instruct the
broker to immediately deliver such securities in electronic fonn to Bear Steams DTC #352, for further credit to
account #l02-21928-25. In the event Seller fails to deliver the Cash Distribution to Buyers within 2 business
days of Seller'S receipt. Seller shall be obligated to pay Buyers interest on the Cash Distribution at )00.4 per
annum. from the date of Seller's receipt to the date of Buyers' receipt. Moreover, in the event Seller receives a
Cash Distribution prior to or at the time of the funding of the consideration to be paid under this Assignmeni;
Buyers shall have the right (at their option) to offset (in whole or in part) the Cash Distribution against the
consideration by instructing Seller to retain all or a portion of the Cash Distribution. In addition, Seller agrees to
provide Buyers with copies of all correspondence with respect to the Claim.

II. Seller agrees to indemnify Buyers from all losses, damages and liabilities. including reasonable attorneys'
fees and expenses. which result from Seller's breach of any representation. warranty or covenant set forth hel'ein,
or any Impairment of the Claim, including, but not limited to, any action, proceeding, objection or investigation
relliling to any attempt or threatenoo attempt to avoid, disallow, reduce, subordinate or otherwise impair thl.!
Claim or otherwise delay payments or distributions in respect of the Claim, Buyers do not assume and shall not
be responsible for any obligations or liabilities of Seller related to or in connection with the Claim or the Case.
In the event Seller has sold or assigned the Claim or any poltion thereof to any other person or entity, Seller
shall, immediately upon demand by Buyers, pay Buyers liquidated damages in an amount equal to twice the sum
of the purchase price paid hereunder and Buyers' costs and expenses (including. without limitation, attorneys'
fees and expenses) relating to this Assignment or the Claim.

 12. Seller hereby irrevocably appoints Buyers with full power of substitution as its true and lawful attorney and
authorizes Buyers to act in Sellers name, place and stead. to demand. sue for, compromise, recover, and transf~.:
to Buyers aU such sums of money and securities whi<:h now are, or may hereafter become due and payable for,
or on account of the Claim herein assigned. Seller grants unto Buyers full authority to do all things necessary to
enforce or compromise the Claim and Sellers rights thereunder or related thereto pursuant to this Assignment:
Seller agrees that the powers granted by this paragraph are discretionary ill nature and exercisable at the sole
option of Buyers. Buyers shall have no obligation to take any action to prove. defend. demand or take any
action with respect to the Claim or otherwise in the Case. Seller agrees to execute, acknowledge and deliver. aU
such further cCI1ificatcs, instruments and other documents, and to take all such furthec action as may be
necessary or appropriate to effect assignment of the Claim and all interests therein to Buyers, \0 fully assist
Buyers in enforcing the Claim and to otherwise effectuate the intent of tbis Assignment. Seller agrees that
Buyers may sell, transfer or assign the Claim, or any pot1ion thereof, together with all right, title and interest o.f
Buyers and all obligations of Buyers in and to this Assignment (the purchaser or transferee of the Claim from the
Buyers is defined as the "Benefici!JI Owner"). In the event Buyers sell, transfer or assign the Claim, or any
portion thereof: (i) Buyers shall have no further obligations to Seller under this Assignment; (ii) Sellcr shall deal
only with the Beneficial Owner of the Claim; (iii) Seller shall only enforce its rights under this Assignment
against the Beneficial Owner of the Claim; and (iv) the Beneficial Owncr shall have all of the Buyers' rights
under this Assignment and related documentS.

 13. Buyers and Seller irrevocably agree that 811)' action to enforce, interpret, or construe any provision of tIli!>
Assignment will be brought and determined only in a state or Federal court located in the City of New York,
g~ in a bankruptcy court ("New York CQurts"). Seller irrevocably and unconditionally consents to person~1
jurisdiction over Seller by the New York Courts in any action to enforce, interpret or construe any provision of
tbis Assigmpent, and also hereby irrevocably waives: (a) trial by jury; (b) any defense of improper venue; or (c)




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forum non conveniens, to any such action brought in the New York Courts. Seller consents to service of process
by certified mail at its address listed above. This Assignment shall be governed by and construed in accordance
with the laws of tile State of New York. without giving effect to any choice oflaw principles thereof.

 14. The document attached hereto as ExhibitJ! and incorporated herein by reference may be filed by Buyers
witll the Bankruptcy Court as evidence of this transfer, Seller grants Buyers the right to: (a) make any
corrections to Exhibit B necessary to effect assignment of the Claim; and (b) execute other evidences of transfer
that may be necessary to transfer other proofs of claim filed by Seller in the Case. Seller hereby waives any
notice or hearing requirements imposed by Rule 3001 of the Bankruptcy Rules, and stipUlates that an order may
be entered recognizing this Assignment as an unconditional assignment and the Buyers herein as the valid owner
of the Claim. Seller acknowledges and agrees that Longacre Master Fund. Ltd. shall be the holder of record of
the Claim and shall identity itself as such on the records aHhe Bankruptcy Court.

15. All representations, warrallties. covenants and agreements contained herein shall survive the execution lind
delivery of this Assignment and the purchase and sale of the Claim and shall inure to the benefit of, be binding
upon and enforceable by the parties hereto and Buyers' successors and assigns. A facsimile copy of this
executed Assignment shall constitute an original and shall bear the same binding effect as any original
signatures. This Assignment may be executed in two or more counterparts. each of which shall be deemed to be
an Qriginal and all ofwhicn, when taken together, shall constitute one and the same document. This Assignment
shall be read and interpreted according to its plain meaning and an ambiguity shall not be construed against
either party. It is expressly agreed by tile parties that the judiciall'ule of construction that a document should be
more strictly construed against the draftsperson lhereofshaJl not apply to nny provision of this Assignment This
Assignment (including the Exhibits attached hereto, and consistent provisions of the Claim Sale Agreement anQ
other documents incorporated into this Assignment by express reference) constitutes the entire understanding
between Buyers and Seller and supersedes any previous agr~ment, verbal or written, between the parties,

 16. The parties hereto acknowledge that (i) each entity identified as Buyer in paragraph 1 shall be deemed to
have made such representations, warranties, covenants, and agreements set forth herein for as to itself only in .tl!~
Ownership Percentages set forth 011 ExhibilA, (ii) the obligations of each Buyer herein shall be several (and not
joint), and (iii) notwithstanding anything to the contrary in this Assignment, the parties hereby agree that aU
obligations and liabilities of a party hereunder ace enforceable solely against sucb party and such party's assets
and not against any officer, director, trustee, member or limited or general partner of such party or against any
assets of any officer, director, trustee, member or limited or general partner of such party.



                                  /SIGNATURES ON FOI~LOWING PAGE)




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iN WITNESS WHEREOF, eae, of the undersigned has duly executed this Assigrunent of Claim by its duly
authorized representative dated ) ,iUt'l IJ1.{ I:'> ,2007.




                           D,LTD.            LONGACRE CAPITAL PARTNERS (QP), LP.
                                            (18.25%)




                                             By:
                                            Name: Stev n S. Weissman
                                            Title:   Member
                                            Date:      I J-/II/f)   7




                                                                                               L01480
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                                     CONSIDERATION PAID TO SELLER

                                                    Exhibit A




Upon settlement of this transaction, subject 10 Buyers' verification ofSeller's representations and warranties
made herein, payment of the Consideration shall be made as follows:




Allowed Amount:                    $9,806.018.00

l(   Purchase Rate:



Consideration:
                       =:z==




Ownership Percentages shall be as follows:



Longacre Master Fund, Ltd.                81.75%

Longacre Capital Partners (QP), L.P.      18.25%


Total                                     100.00%

Seller's Wire Instructions:

Bank:            Bank of America
Address:         I ,85 Avenue of the Americas, tid Floor
                 New York, New York IOQ36

ABA No.:         ()26 009 593
Account No.:     0048 J 730 6300
Acoount Name: National Union Fire Insurance Company of Pittsburg
                 Grace Trust Account




                                                                                                           L01481
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                                    EVIDENCE OF TRANSFER OF CLAIM

                                                       Exhibit B

TO:               United States Bankruptcy Court ("Bankryptcy Court")
                  District of Delaware
                  824 Market St., Room 525
                  Wilmington, DE 19801
                  Attn: Clerk

AND TO:          W.R. GRACE & CO.-CONN., ("Debtor")
                 Case No. 01-01140

Claim # 9553

NATIONAL UNION FIRE INSURANCE COMPANY OF PIITSBURG, PA., its successors and assigns
("Seller"), for good and valuable consideration the receipt and sufficiency of which is hereby acknowledged,
does hereby unconditionally and irrevocably sell, transfer and assign unto:

                 LONGACRE MASTER FUND. LTD.
                 c/Q U.S. Bank National Association
                 Corporate Trust Services
                 1420 Fifth Avenue, i h rlool'
                 Seattle. Washington 9810 j
                 Attn: Kyle J Lunde

its successors and assigns ("Buyer"), all rights, title and interest in and to the claim of Seller, including all rights
of stoppage in transit, replevin and reclamation, in the principal amount of $9,806,0 18.00 ("Claim") against the
Debtor in the Bankruptcy Court, or any other court with jurisdiction over tho bankruptcy proceedings of the
Debtor.

Seller hereby waives any objection to the transfer of the Claim to Buyer on the books and records of the Debtor
and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law any nolice or right to a
hearing as may be imposed by Rule 300 I of the Federal Rules of Bankruptcy Procedure, the Bankruptcy Code,
applicable local bankruptcy rules or applicable law. Seller acknowledges. understands and agrees, and hereby
stipulates that an order of the Bankruptcy Court may be entered without further notice to Seller transferring to
Buyer the Claim and recognizing the Buyer as the solo owner and holder ofthe Claim.

You are hereby directed to make all future payments and distributions, and to give all notices and other
commuuications, in respect of the Claim to Buyer.


IN WITNESS WHEREOF, the undersigned has duly executed this Evidence of Transfer of Claim by its duly
authorized representative dated V<~, oM. w,. 13 , 2007.


                                                                                               df:'
                                                                                  .III-
                                                                     LONGACRE MASTF:;                   LTO.


                                                                     By
                                                                     Name: Steven S. WeIssman
                                                                     Title: Director




                                                                                                             LOl482
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UNITED 81'ATES BANKRUPTCY COURT
DISTRICT OF DELAWARE
------------------------------.--..-.. _________...___.____wow_ox
fu~                                                           I
                                                              I Chapter 11
 W.R.GRACE&CO.·CONN.                                          I
                                                              I Case No. 01-01140
                                                              I
                     Debtors.                                 I
....--••.•------•.---.---------------------------------------X   Claim No. 9553

       NOTICE OF TRANSFER OF CLAIM PURSUANT TO FRBP RULE 3001(0)(2)

To: (Transferor)                   National Union Fire Insurance Company Pittsburg, PA
                                   70 Pine So'eet
                                   New York, NY 10270
                                   Attn: James J. Murphy

The transfer of your claim as shown above. in the amount of ~.806,O 18.00 has been transferred
(unless previously expunged by court order) to:
                                LONGACRE MASTER FUND, LTD.
                                Tnmsferor: National Union Fire Insurance Company Pittsburg, PA
                                810 Seventh Avenue, 22nd Floor
                                New York, NY 10019
                                Attn: Vladimir Jelisavcic

No action is required if you do not object to the transfer of youI' claim. However, IF YOU
OBJECT TO THE TRANSFER OF YOUR CLAIM, WITHIN 20 DAYS OF THE DATE OF THIS
NOTICE, YOU MUST:

        - FILE A WRlTI'EN OBJECTION TO THE TRANSFER with:

                   United States Bankruptcy Court
                   District of Delaware
                   824 Market Street, Room 525
                   Wilmington, DE 19801

        - SEND A COpy OF YOUR GBJECnON TO THE TRANSFEREE.
Refer to INTERNAL CONTROL No. __. in your objection. If you file an objection, a hearing
will be scheduled. IF YOUR OBJECTION IS NOT TIMELY FILED, THE TRANSFEREE WILL
BE SUBSTITUTED ON OUR RECORDS AS THE CLAIMANT.
                                               Intake Clerk

FOR CLERK'S OFFICE USE ONLY:
This notice was mailed to the first named party. by first class mail, post prepaid on - - ' 2006.
INTERNAL CONTROL NO.                                   .
Claims Agent Noticed; (Name of Outside Agent)
Copy to Transferee:_ _ _ _~~~_ _ __


                                                     Deputy Clerk




                                                                                                L01483
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                            EVIDENCE OF TRANSFER OF CLAIM

                                             ExhibitB

TO;             United States Bankruptcy Court (,'Dankrugtcy Coulj:")
                District of Delaware
                824 Market St., Room 525
                Wilmington, DE 19801
                Attn: Clerk

AND TO:         W.R. GRACE & CO.·CONN., ("~")
                Case No. 01·01140

Claim # 9553

NATIONAL UNION FIRE INSURANCE COMPANY OF PIITSBURG, PA.• its successors
and assigns ("Seller"), for good and valuable consideration the receipt and sufficiency of which is
hereby acknowledged, docs hereby unconditionally and irrevocably sell, transfer and assign unto:

                LONGACRE MASTER FUND, LTD.
                clo U.S. Bank National Association
                Corporate Trust Services
                1420 Fifth Avenue, ih Floor
                Seattle, Washington 98101
                Attn: Kyle J Lunde

 its successors and assigns ("Bu)!er"), all rights, title and interest in and to the claim of Seller,
including all rights of stoppage in transit, replevin and reclamation, in the principal amount of
$9,806,018.00 ("Claim") against the Debtor in the Bankruptcy Court, or any other court with
jurisdiction over tile bankruptcy proceedings of the Debtor.

Seller hereby waives any objection to the transfer of the Claim to Buyer on the books and records
of the Debtor and the Bankruptcy Court, and hereby waives to the fullest extent permitted by law
any notice or right to a hearing as may be imposed by Rule 300 I of the Federal Rules of
Bankruptcy Procedure, the Bankruptcy Code, applicable local bankruptcy rules or applicable law.
Seller acknowledges, understands and agrees, and bereby stipulates that an order of the Bankruptcy
Court may be entered without further notice to Seller transfelTing to Buyer the Claim and
recognizing the Buyer as the sole owner and holder of the Claim.

You are hereby directed t6 make all future payments and distributions, and to give all notices and
other communications, in respect ofthe Claim to Buyer.

IN WITNESS WHEREOF, the undersigned has duly executed this Evidence of Transfer of Claim
by its duly authorized representative dated December 13,2007.

NATIONAL UNION FIRE INSURANCE                            LONGACRE MASTER FUND, LTD.
COMPANY OF PIITSBURG, PA

By: lsi James J. Mwphy                                   By:.JsI Steven S. Weissman
Name: James J. Murphy                                    Name: Steven S. Weissman
Title: Authorized Representative                         Title: Director




                                                                                               L01484
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                               )
        In re:                                                                 )
                                                                               )
        W. R. GRACE & CO., et aJ.                                              )      Chapter 1]
                                                                               )
                                    Debtors.                                   )      Case No. 0]-01 ]39 (JKF)
        ------~'-
                                                                               )      (Jointly Administered)
                                                                               )
        W. R. GRACE & CO,-CONN.,                                               )
                                                                               )
                                    Plaintiit                                  )      Adversary No. 02~01657
                                                                               )
        NATIONAL UNION FIRE INSURANCE                                          )
.,- "   COMPANY OF PITTSBURGH, PA.                                             )
                                                                               )      Hearing: December 17,2007,2:00 p.m.
                                    Defendant, Third Party and                 )      Agenda .Item No. ~_
                                    Joinder Plaintiff                          )
                                                                               )
                                                                               )
        REAUD. MORGAN & QUINN, INC. and                                        )      Re: ,Docket Nos. 581 106, 107, _
                                                                                                                     112,114
                                                                                                                       __

        ENVIRONMENTAL UTIGATION GROUP, P.C., )
                                                                                )
                                    Third·Party and Joinder                     )
                                    Defendants                                  )



         ORDER AUI'UORIZING DEBTORS t SETfLEMENT WITH NATIONAL UNION AND
                                   CLAIMANTS

                 Upon consideration of the "Debtors' Motion for an Order Authorizing Settlement with

        National Union and Claimants" (the "Motion"); and due and proper notice ofthe Motion having

        been given; and it appearing that the relief requested in the Motioo is in the best interests of the

        Debtors, I their estates and creditors, it is hereby

                 ORDERED that the Motion is granted; and it is further




            I Capitalized terms nOI defined herein shall have. the mealling ascribed to them in the Motion,




                                                                                                                       LOl485
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       ORDERED that the Debtors are hereby authorized to perfonn their obligations under the

Agreement; and it is further

       ORDERED that National Union Claim No. 9553 is allowed in the sums provided for in

the Agreement; and it is further

       ORDERED that the Claimants' Claims Nos. 103, 1M, 13945, 13954, 14Q36 and 14Q53

are disallowed and expunged for all purposes; and it is further

       ORDERED that upon payment by National Union of the Payment Amount, this

Adversary Proceeding shall be dismissed; and it is further

       ORDERED that the Debtors are authorized to take whatever other actions may be

necessary to consummate the transactions contemplated by the Agreement; and it is further

       ORDERED that the Court shall retain jurisdiction to hear and determine aU matters

arising from or relating to the implementation of this Order; and it is further

       ORDERED that this Order is effective immediately upon its entry.


Dated: December ~ 2007




                                                  2



                                                                                            L01486
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DlSTRK"T OF DELAWARE

                                                                         )
In re:                                                                   )
                                                                         )
W. R. GRACE & CO., et a!.                                                )      Chapter 11
                                                                         )
                              Debtors.                                   )      Case No. Ol~01139 {JKF}
                                                                         )      (Jointly Administered)
                                                                         )
W. R. GRACE & CO.·CONN.,                                                 )
                                                                         )
                              Plaintiff.                                 )      Adversary No. 02-01657
                                                                         )
NATIONAL UNION FIRE INSURANCE                                            )
COMPANY OF PITISBURGH, PA.                                               )
                                                                         )      Hearing: December 17,2007,2:00 p.m.
                             Defendant, Third Party and                  )      Agenda Item No. _ _
                             Joinder Plaintiff                           )
                                                                         )
                                                                         )
REAUD, MORGAN & QUINN, INC. and                                           )     Re:Docket Nos. 58,106, 107, 112, 114
ENVIRONMENTAL LITIGATION GROUP, P.C.,                                     )
                                                                          )
                             Third-Party and Joinder                      )
                             Defendants                             ._--- )


 ORDJl~R AUTHORIZING DEBTORS' SETfLEMENT WITH NATIONAL UNION AND
                                                       CLAIMANTS

         Upon consideration Qfthe "Debtors' Motion/or an Order Authorizing Settlement with

National Union and Claimants" (the "Motion"); and due and proper notice of the Motion having

been given; and it appearing that the reliefrequested in the Motion is in the best interests of the

Debtors, I their estates and creditors, it is hereby

         ORDERED that the Motion is granted; and it is further




    I Capitalized tenns not defined herein slllllI hav<! tile meaning ascribed 10 them in the Morion.




                                                                                                                   L01487
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        ORDERED that the Debtors are hereby authorized to perform their obligations under the

Agreement; and it is further

       ORDERED that National Union Claim No. 9553 is allowed in the sums provided for in

the Agreement; and it is further

       ORDERED that the Claimants' Claims Nos. 103, 104, 13945, 13954, 14036 and 14053

are disallowed and expunged for all purposes; and it is further

       ORDERED that upon payment by National Union of the Payment Amount, this

Adversary Proceeding shall be dismissed; and it is further

       ORDERED that the Debtors are authorized to take whatever other actions may be

necessary to consummate the transactions contemplated by the Agreement; and it is further

       ORDERED that the Court shall retain jurisdiction to hear and determine all matters

arising from or relating to the implementation of this Order; and it is further

       ORDERED U1at this Order is effective immediately upon its entry.


Dated: December .-L 2007



                                                 ~~leC.Jl;~:""d~~th~·~"tz~.g:3ent~kl~a~b:::::
                                                      u. S. Bankruptcy Judge




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                 SETTLEMENT AGREEMENT AND MUTUAL RELEASE
                                                                                             -Ji-
        This Settlement Agreement and Mutual Release ("Agreement"), dated November/~

2007, is made by and between (i) W. R. Grace & Co. and its 61 affiliated entities who are

Debtors in the chapter 11 cases identified as ease no. 01-01139 (JKF) pending in theUnited

States Bankruptcy Court for the District of Delawm; (U) National Union Fire Insurance

Company of Pittsburgh, PA. and it affiliates AIU Insurance Company. American Home

Assurance Company, Granite State Insurance Company, Illinois Nati6nal Insurance Company.

The Insurance Company of the State of Pennsylvania, New Hampshirc Insurance Company,

Commerce and Industry Insurance Company and Commerce and Industry Insurance Company of

Canada (CQllectively. "National Union"); and (iii) Reaud, Morgan & QUillll, Inc. ("RMQ'') and

Environmental Litigation Group. P.C. ("ELG") and their res~tive clients who are Settling

Plaintiffs under the Settlement Agreements defined below (collectively, RMQ. ELG and their

clients shall be referred to as "Claimants"). The Debtors, National Union and Claimants shalJ be
                                                    "
referred to herein collectively as "the Parties."

                                            RECITALS

       A       On or about Augus~ 25, 2000, Claimants entered into twp setiiement agreements

with W.R. Grace & Co.~Conn ("Grace") one of the Debtors (the "Settlement Agreements"). The

first agreement, the "Alabama Agreement," established procedures for qualifying Alabama

asbestos personal injury claimants to settle their claims against Grace. The second agreement,

the "Texas Agreement," likewise established procedures for qUalifying Tex.as asbestos personal

injury claimants to settle their claims against Grace.

       B.      The Settlement Agreements contain specific requirements that a Claimant must

satisfy before its claim is eligible for payment. These requirement include supplying "Qualifying

Materials" to substantiate a Claimant's claim. Pursuant to the Settlement Agreements, Grace was




                                                                                                    L01489
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required to make payments on account of claims that satisfied the Settlement Agreements in four

yearly installments, with the final two payments due on 1anuary 15,2002 and Janltaly 15,2003,

       C.      Pursuant to the terms of the Settlement Agreements, Grace was reqllired to obtain
                                                                                     -
guarantees ofits prospe<:tive obligations under the Settlement Agreements. To satisty this

requirement, Grace caused National Union to issue two surety bonds (the "Bonds") to Grace, as

tile principal, for the benefit of Clrumants. as obligees. Bond #B8D 7311060 dated October 23,

2000 secures payme[Jts under the Alabama Agreement; Bond liESD 7311061 dated October 23,

2000 secures payments under the Texas Agreement.

       D.      On April 2, 2001 (the "Petition Date',), Debtors filed chapter 11 Bankruptcy cases

in the United States Bankruptcy Court for the District of Delaware. At that time, two of the four

installments under the Settlement Agreements had been paid by Debtors. The third installment

was paid by agreement of the parties during the chapter 11 cases.

       E.      Grace commenced an Adversary Proceeding (Case No. 02"()1657) on January 18,

2002 seeking to enjoin National Union from making certain prospeotive payments pursuantto

the Bonds. Grace initially alleged that Claimants had not pro,;:ided sufficient documentation to
                                         "
support their claims for payment as required by the Settlement Agreements and thus were not
                                   . '
owed any amounts under the Set.tJ~m~t Agreements for which the Bonds were posted.

       F.     National Union responded by filing 11 third-party action against Claimants which

sought a declaration that no additional monies were owed under the Settlement Agreements ot

establlshing the extent, if any, ofNational Union's and Grace's obUgations to Claimants.

       G.     In December 2002, National Union moved for summary judgment seeking a

declaration that no additional amounts were owed 10 the Claimants under the Settlement

Agreements. Claimants filed a cross-t:laim and on September 10. 2003 filed a cross~motion for



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    smnmary judgment alleging that additional amounts were due under the Settlement Agreements

    and that no further review ofthe claims was appropriate.

            H.      Oral argument on the cross motions for summary judgment was originally held in

    March 2004. At the March 2004 hearing, the Court granted the Debtors the right to review all

    supporting documentation submitted for unpaid claims that was submitted within 60 days prior

    to the Petition Date as well as any supporting documentation submitted after the Petition Date.

    The Court also granted National Union the right to review all claims   and supporting
    documentation submitted for any claims that remained unpaid under the Settlement Agreements,

    regardless of when the supporting documentation was submitted.

           I.      The Court did not rule at that time, however, as to what would be the rights of the

    Parties after such review was completed.

           J,      In June 2006, CluimMts filed a Motion for Entry of Judgment which National

    Union !ll1d the Debtors opposed.

           K.      The Court ordered bl'iefing on the issue of the a.pplicability of section lOS oHhe

    Bankruptcy Code and set the matter for further omI argument..On July 19) 2007. after reviewing

I   the -briefing and hearing the arguments ofcounsel, the Court det!m!1ined t{l!&t mel'ed-National

    Union was to pay Claimants on account of Qualified Claims 'submitted more thM 60 days prior

    to the Petition Date (i.e. on or before January 31,2001)..

           L.      The Parties subsequently engaged in good-faith discussions regarding the fonn of

the Order memorializing the Court's July 19,2007 rulings. While the Parties essentially reached

agreement with respect to the correct value of the Qualified Claims submitted more than 60 days

prior to the Petition Date which should be paid, the Part~es are not able to agree on the issue of

prejudgment interest.



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        M.     National Union has filed various proofs of claim agrunst the Debtors for the'

obligations of the Debtors to National Union as a result ofthe Bonds. Pursuant to a Stipulation

b~tween the Debtors and National Union dated February 1,2006, National Union's sole

surviving claim against the Debtors related to the Bonds is elaim number 9553 which BSserts a

claim against the Debtors in the amount of $46,971,764 plus unliquidated amounts which

National Union asserts ore secured by certain letters of credit (the ('National Union Claim").

       N.      Claimants have filed certain proofs of claim against   the Debtors, identified as
claims nos. 103,104,13945.13954, 14036 and 14053 for unP!lid amounts they assert are owing

by the Debtors to Claimants under the Settlement Agreements (the "Claimants' Claims").

       0..     The Parties now desire to enter into this Agreement, on the tenns and conditions

as set forth herein, in order to resolve the outstanding issues between them, including but oot

limited to: (8) all issues regarding al! claims that have been submitted to Debtorll for payment

under the Settlement Agreements; (b) the issue of prejudgment interest; (c) how the amounts

owing under the Settlement Agree~'ie~tll shall be funded by National Union; (d) the allowed

amount of National Union's Claim; (e) release of the Bonds; (f) satisfaction and cancellation of

the SeUlement Agreements and disallowance...,f Claimant's Claims; and (~ dismissal Qfthe

Adversary Proceeding.

                                           AGREEMENT

       NOW, THEREFOIU5, for good and valuable consideration, the Parties agree as follows:

       1.     National Union shall pay Claimants the sum oU 15,350,000 in full satisfaotion

Ilnd settlement of National Union's obligations under the Bonds (the "Payment Amount"), which

Payment Amount shall be paid by National Union to Claimants within 3 business days after an
                                       1
order entered by the Bankruptoy Court approving this Agreement ~comes a Final Order, lIS

defined below (the "Closing Date"" such orde'r tobc in form and content reasonably satisfactory

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to the Parties, and each of them, which shall authorize the Debjors to perfonn their obligations

under this Agreement, cancel and release the Bonds, allow the National Union Claim In the sum

provided for herein, and. dismiss the Adversary Proceeding (the "Approval Order").

Notwithstanding the foregoing, the Closing Date shall not occur before December 10,2007.

        2.     Upon payment by National Union ofthe Payment Amount, (a) the Bonds 8hall be

cancelled and the originals returned to National Union on the Closing Date and all obligations of

National Union under the Bonds shall be deemed fully satisfied; (b) the Settlement Agreements

and all obligations of the Debtors'thereunder shall-be deemed fully satisfied, and (c) the

Adversary Proceeding shatl be dismissed.
                                                               -
        3.     In order to partially fimd the Payment Amount. National Union shall draw down

(a) the remainder of letter of credit no. 7404289 issued by Bank of America N.A. in the

Iemaining amowlt 0[$710,1 10 and (b) letter of credit no. 7404163 issued by Bank of America

N.A. in the amount of$6 million, and both letters of credit shall be cancelled. National Union

shall draw on the letters ofcredit five business days prior to the Closing Date.

       4.      Surety Bond No. ESD 7310985 dated September 19, 2000 issu~ on behalfof

Grace.by American Home Assurance ~ompany, an affiliate of National U.nion, in favor oftho

Tennessee Department of Heath and Environment in the penal sum of $31,772,596.00 (the

"Tennessee Bood") shall remain unaltered and nothing herein.shall provide any basis to callcel

the Tennessee Bond notwithstanding the draw by National Union of letter of credit no. 7404163

outlined in paragraph 3 above which was posted as partial security for Grace's obUgations to

American Home Assurance Company for the Tennessee Bond, and Debtors shall have no

obligation to provide a replacement letter of credit




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        5.      UpQn payment by National Union ofthe Payment Amount. National Union Claim

 No. 9553 shan be allowed in the.total amount of $9.806,018, as an unsecured, pre-petition, non­

 priority claim against the chapter 11 estates of the Debtors, which claim consists of: (a)

 $8,639.890, the balance of the Payment Amount after applying the letter of credit proceeds

 outlined in paragrapb 3 above; (b) National Union's claim for unpaid bond premiums on the

 Bonds in the amount of$432, 193; and (0) National Union's claim for litigation expenses in

connection with the Bonds in the amount of$733,935. All other amounts claimed owing on

Claim No. 9553 shall be hereby expunged and disallowed. In the event that any plan or plans of

reorganization that the Debtors, or any ofthern, may confirm in their bankruptcy cases provides

for payment of interest on unsec~d, pre-petition, non-priority claims, the National Union Claim

in the amount allowed herein. sba'U bear interest at the rate prClvided in such phm or plans from

and after the Closing Date without regard to tbe date from which interest accrues under the terms

of such plan or plans of reorganization with respect to any other creditor.

        6.     The amounts set forth in paragraph; above are being allowed without prejudice

to: (i) any further amounts National Union may claim for legal fees and expenses accrued in

conneotion with the Bonds for legal services after September 30, 2007, -(ii) any additional

amounm due tor premiums arising under the Bonds in excess ofthe amount 1Il1owed herein for

which Nati()~l Union can provide the Debtors evidence of such further amounts owing; (iii)

amounts due for premiums arising under the Tenl1e5see Bond, and (iv) any other amounts
                                                               .
unrelated to the Bonds tha.t may b~ due to National Union. Notwithstanding any other provision

in the Agreement, no claim listed in the preceding sentence is released or reduced by this

Agreement. National Union may file new proof.'l of claim ("New POCs'') for (i) amounts

National Union may claim for legal fees and expenses accrued in connection with the: Bonds



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after September 30,2007, (ii) additional amounts due for premiums on the Bonds in excess'of

the amount allowed herein, if applicable, and (iii) amounts due for premiums arising under the

Tennessee Bond, and such New POCs.shall not be deemed to be \ltltimely. All parties reserve all

their rigbts and defenses (other than. untimeliness) with respect 10 the claims described in thls

paragraph.

        7.      Upon payment by National Union ofthe Payment Amount, all ofClaimants'

claims which were sUbmitted to Debtors under the Settlement Agreenients at any time shall be

disallowed and expunged. To the extent that Claimants seek to pursue claims which they allege

were covered under the Settlement Agreements but were not previously submitted to Debtors as

a result of the chapter 11 filing and notwithstanding any bar date previously imposed in Debtors'

Chapter 11 cases, these Claimants shall have 90 days from the-date of a Final Order to file such

proofs ofclaims and this Agreement shall Dot release or affect such claims. National Union shall

have no Iiabmty for any claims prescrVki, asserted or allowed pursuant to this paragraph and
                                   ,
Debtors reserve their rights to obj~ct to any such claims. Furthermore, this Agreement does not

affect or in any way relate to "new asbestos-related cancers" among Settling Plaintiffs as

outlined ill paragraph 9 of the Settlement Agreements and the oorrespond~ng releases, and Ill!

rights outlined thereunder are preserved.

        8.     In the event that the Tennessee Bond outlined in paragraph 4 above is later drawn

upon prior to Debtors' emergence from their Chapter 1I cases... National Union shall b¢ allowed II

general unsecured claim to be reimbursed for any draw or o~r costs or expenses due National

Union that may arise in connection with the Tennessee Bond. Such general unsecured claim

shan be entitled to the same treatment and conditions with respect to interest as the National
Union Claim outlined in paragraph 5 eibove. In the event that the Tennessee Bond i~ not drawn



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 upon prior to Debtors' emergence from Chapter 1] > Debtors shall assume the agreement            .

 establishing the Tenneslice Bond in its chapter 11 plan and perl'onn its obligations therecnder in

 the ordinary course of its business. other than providing a replacement letter of credit

            9.    To the extent that National Union makes any payments under this Agreement or

 under the Tennessee Bond or other pre·exiting prepetition obligations to the Debtors, and to the

extent National Union has II. right ofsetoff, this Agreement hereby substitutes an administrative
                                    ,                           '

priority claim equal in value, if any, til such right ofsetoff. NQ such administrative priority claim

shall be allowed to or paid to National Union pursuant to such claim unless and until the

Bankruptcy Court determines that National Union had a right ofoff3et equal in value to the

amount ofsuch administrative priority claim. The Debtors shall retain all rights to contend that

there is no suoh right of setoff and to object to the administrative priority claim substituted

herein. The intent of this paragraph is to pre!ferve the status quo and to allow National Union to

make payments to Claimants and the Debtors without the need to raise setolI issues each time a

payment is made. AU entities shall retain all rights and defenses in connection with such

payments lind the administrative priority claims and no party   is de6ll1ed to have agreed that any
&'Uch ootoff rights exist or not.

            10.   As used herein, the'tenn "Final Order" means an order of the Bankruptcy Court

that has been entered upon the docket in the Debtors' chapter 11 cases, and as to which the time

to appeal, petition for certiorari, or move for reargument or rehearing has expired and as to which

no appeal, petition for certiorari, or other proceedings for reargument or rehearing shall then be

pending or, in the event that an appeal,writ ofcertiorari, or reargument or rehearing thereof has

been sought, such order shall have been affinned by the highest court to which such order was

appealed, or certiorari has been denied or from which reargtll1!ertt or rehearing was sought, and



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the time to take any further appeal, petition for certiorari, or move for reargument or rehearing

shalJ have expired; provided, however, that the possibility that a motion under Rule 59 or Rule

60 ofthe Federal Rules of Civil Procedure Of any analogous rule under the Bankruptcy Rules

may be filed with respect to such order shall not cause such order not to be a "Final Order."

        11.     The Parties will cooperate. to cause the order approving this Agreement to become

II Final Or.der Ilt the earliest date possible.   The Parties further agree that if the Bankruptcy Court

enters an order approving this Agreement, which order does not become a Final Order for any

reason withlll 120 days of the entry of the order, each Party shall have the right to declare this

Agreement null and void. in which casetlJe Parties will have all of the rights. obligations tmd

claims that they hud prior to executing this Agreement.

        12,     Claimants agree that they are forever barred, estopped, and enjoined from

asserting any additional claims against National Union or the 'Debtors, except to the extent that

entities otber than National Union may have liability as outlined in paragraph 7 above, with

respect to the claims addressed by the Settlement Agreements.

        13.     The Parties agree that Claimants are not pries to th¢ agreements contained aOOve

in paragraphs 3, 4, 5, 6, 8 and 9 and are not making any promiee or repres~ntation with regard to

such paragraphs.

                                                  RELEASES

        14,     Other than the Parties' <>bligations hereunder, the Debtors. on behalfof

themselves and each oftheir subsidiari~ and affiliates, hereby release and disoharge National

Union and Claimants and each oftheir/its successors, heirs, assigns, agents, partners, attorneys,

family members, employees, shareholders, officers, directors, members, representatives, insurers,

corporations, partnerships and their subsidiaries, affiliates and predecessors, of and from any and

all manner of action or action:::, cause or causes of action in law or in equity, SuiUl, debts, liens,

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contracts, agreements, promises, liabilities, claims, demands, damages, losses, costs or expenses

of any nature whatsoever, known or unknown, suspected or unsuspected, fixed or contingent,

from the beginning of time to the ,date .~ftbis Agreement which the Debtors now have or may

hereafter have by reason ofany matter, cause or thing whatsoever from the beginning of time to

the date hereof relating to or arising out of the Settlement Agreements, Bonds, letters ofcredit,

National Union Claim, Claimants' Claims and lUly claims arising out of, based upon, or relating

to any of the matterS raised in the Settlement Agreements, Bonds, letters of credit, National

Union Claim or Claimants' Claims. Without limiting the generality of the foregoing, the

Debtors, on behalfofthemselves and each of their subsidiaries and affiUates, in the event the

National Union Claim is hereafter transferred, sold or assigned, agrees that the National Union

Claim shall not be subject at any time to any right ofsetoff or any other defense arising out of the

Tennessee Bond, any other obligatioll$ 'owed to any of the Debtors, or otherwise.
                                        ,
        15.     Other than the Parties' obligations hereunder. liational Union, on behalf of itself

and each of its subsidiaries and affiliates, hereby releases and discharges Claimants, the Debtors

and each of their/its successors, heirs, assigl18, ugonts, partners, attorneys, family members,

em13loyee5, shareholders, officers, directors, members, representatives. -ios,urers, corporation~,

partnerships and their subsidiaries, affiliates and predecessors, of and from any and all manner of

action or actions, cause or causes ofaction in law or in equity, suits, debts, liens, contracts,

agreements, promises, liabilities, claims, demands, damages, losses, costs or expenses ofany

nature whatsoever, known or unknown, suspected or unsuspected. fixed or contingent, from the

beginning of time to the date of this Agreement which National Union now has or may hereafter
                                                                 .
have by reason of any matter, cause or thing whatsoever from the beginning oftime to the date
                                    I
                                   tt"                 •
hereof relating to or arising out of the Settlement Agreements, Bonds, letters ofcredit, National



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Union Claim or Claimanta' Claims and any claims arising out of, based upon, or relating to any

ofthe matters raised in the Settlement Agreements. Bonds, letters of credit, National Union

Claims or Claimants' Claims.

        16.     Other than the Parties' obligations hereunder, and except as set forth in paragraph

7 above, Claimants on behalfofthemselves and each of their respective subsidiaries and

affiliates, partners, members and share or other equity holders.. hereby releases and discharges

the Debtors and National Union and each oftbeir/its successors, heirS, assigns, agents, partI1ers,

attorneys, family members, employees, shareholders, officers, directors, members,

representatives, insucers, corporations, partnerships and their subsidiaries, affiliates and

predecessors, of and from any and aU manner of action or actions, cause oc causes of action in

law or in equity, suits, debts, liens, contracts, agreements, promises, HabiUties, claims, demands,

damages, losses, costs or expenses of any nature whatsoever, known or unknown, suspected or

unsuspected, fixed Q1 contingent, from the beginning of time to the date ofthis Agreement which

Claimants now has or may hereafter have by reason of.any matter, cause or thing whatsoever

from the beginning of time to the date lJereof relating to or arising out of the Settlement

Agreements, Bonds, letters of cred:it. National Union Claim or Claimants' Claims and any claims

arising out of, based upon, or relating to any ofthe matters raised in the Settlement AgreemcnUl,

Bonds, letters of credit, National Union Claim or Claimants' Claims. It is understood !lnd agreed

that nothing herein shall settle, release or affect in any way the rights ofthe parties in that certain

case entitled Aaron C. Edwards, et 81. Y. Pittsburgh Coming CoIporation, et al (Cause No. B­

150,896-1; 60th District Court, 1efferson County, Texas), including the judgment rendered

therein against W. R. Grace & Co. and the pending appeal."




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        17,    Bach of the Parties represents and warrants to all other Parties that it is the sole (or

joint with one or more other Parties) and lawful owner of all right, title and interest in and to

every claim that is releasing hereby and that no portiOD of anY,claim, right, demand, action or
                                                                                         _.
cause of action that it has or might have against any other Party, nor any portion of any such

claim, right, demand, action or cause of action to which it may be entitled, has been assigned or

transferred to any other person, fum or corporation in any marmer (other than assigrunents which

nw.y have been made by Claimants to their counsel pursuant to any agreement between such

parties), including by way of subrogation or operation of law or otherwise. Each Party further

represents and warrants to all other Parties that it does not know of any person or entity not a

Party hereto who has (or claims to'have) any interest in any claim or right which is released

hereby. In the event that any claim, demand, or suit should be made or instituted against a Party

or Parties because of a purported assignment, subrogation, or transfer, the Party who so assigned,

subrogated or transferred iliat claim, demand, or suit agrees to indemnify and'hold hannless the

other Party or Parties against the claim. suit or demand and to pay and satisfy any such cillim,

suit or demand, including necessary expenses of investigation, attorneys' fcll'S and costs.

                                       MISCELLANEOUS ­
       18.     This Agreement shall be construed and interpreted in accordance ytlth the laws of

the State of Delaware.

       19.     All Parties agree that this Agreement may be executed in counterparts, and that

any copy of this Agreement which Cbntains the oligiJlal or a p~otocopy or facsimile of the

signature of each IUld every signatory hereto shaH be deemed an original.

       20.    Each Party shall bear all attorney fees and costs incurred by such party in

connection with the Settlement Agreements, Bonds, letters of credit, National Union Claim or

Claimants' Claims, this Agreement and the matters and documents referred to herein and all

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related matters, except for the obJiga~o.ns ofDebtors to National Union ouWned in paragraPhs 5

and 6 above.

        21.     This Agreement sets forth the entire agreementbetween the Parties concerning

the settlement of the disputes described in this Agreement, and shall supersede any and all prior

agreements or understandings, written or oral, between these Pames pertaining to the subject

matter hereof except for the releases previously executed by the settling plaintiffs under the

Settlement Agreements. Each Party agrees that no provision or breach ofthis Agreement may be

waived unless the waiver is expressed in a writing signed by the Party charged with the waiver,

and that the waiver of anyone provision or breach shall not be deemed to constitute a waiver of

any other provision or breach. This Agreement may not be amended, modified. or tenninated, in

whole or in part, except by an instrull)ent in writing, executed by the Parties or their authorized

represeDtatives.

        22.    To the extent that any additional documents or acts are reasonably required to be

executed or perfonned by a Party in order to effectuate or carry out this Agreement, the Party in

question shall promptly execute and deliver such docwnents and/or perfonn said acts in

accordance with tho terms hereof. .

       23.     The liability ror any claim released herein is denied by the Parties herein released,

and this final compromise and settlement thereof shall never be treated as an admission of

liability or responsibility at any time for any purpose.

       24.     The tenus of this Agreement have been negotiated lit arms' length among

sophisticated Parties represented by counsel, and this Agreement in its final fonn is the result of

the combined efforts of coWlsel for all Parties. As a result. the rule of"Interpretation Against the

Draftsman" shall not apply in any dispute over interpretation ofthe tenns of this Agreement



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        25.     AIry dispute concerning the intetpretation, performance Of enforcement of this

 Agreement or any ()ther matter arising from or connected with this Agreement shall be

 determined solely by proceedings in the Debtors' chapter 11 cases or in the event the chapter 11

cases are closed, in the appropriate Slate or Federal Court in Delaware.

        26.     In entering into this Agreement. the Parties represent that they each relied upon

 the advice of their own attorneys, who are attorneys of their own choice, conceming the legal

consequences ot this Agreement; that the terms of this Agreement have been completely read

and explained to the Parties by their respective attorneys; and that the terms of this Agt:eement

are fully understood and voluntarily accepted bythc Parties.

        27.     AU Parties agree that all warranties and representations expressed in this

Agreement shall survive the execution of the Agreement.

        28.     Any provision otthis Agreement which is deL-med invalid, illegal or

unenforceable shall be ineffectiw only to the extent of such invalidity. illegality or

unenforceability, without affecting in any way the validity, legality or enforceability of any other

provision of this Agreement, provided that the economic or legal substance of this Agreement is

not ~ected in any manner materially adverse to any Party.

        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the date set

fortll above.

                                              W. R. GRACE & CO., et al., Debtors and Debtors


                                              :~~
                                               ..~ /J
                                              y-.--~
                                                 Jay ughes
                                                 Sr. Litigation Counsel

                                              NATIONAL UNION FIRE INSURANCE
                                              COMPANY OF PlTTSBUROHNA, AIU

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                    ASSVMNCECOMPANY, GRANlTE STATE
                    !NSURANCB COMPANY, ILLINOIS
                    NATIONAL INSURANCBCOMPANY, THE
                    lNSURANCli COMPANY OF THC:! STATB OF
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                    INSURANCB COMPANY, COMMERCE AND
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                         INSURANCE COMPANY, AMBRlCAN HOME
                         ASSURANCE CO'MPANY, GRANITE STATE
                         INSURANCE COMPANY. ILLINOIS
                         NATIONAL INSURANCB COMPANY. THE
                         INSURANCE COMPANY OF THE STATE OF
                         PENNSYLVANlA, NEW HAMPSHIR.Ii
                         INSURANCE COMPANY, COMMERCE AND
                         INDUSTRY INS'URANCB COMPANY AND
                         COMMERCE AND INDUSTRY INSURANCE
                         COMPANY OF CANADA

                          By ______ __ ________­
                                     ~    ~


                             Their Authorized Signatory

                          REAlm. MORGAN QUINN AND
                          ENVIRONMENTAL LITIGATION GROUP P.C.
                          for Claimants

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November 30, 2007 at 4:00 p.m, The Debtors' extended the objection for the Official Committee

of Unsecured Creditors (the "Committee") until December 5,2005, at 5:00 p.m, The Committee

informed the Debtors that they do no intend to file an objection to the Motion.

               It is hereby respectfully requested that the Order attached to the Application be

entered at the Court's earliest convenience.


Dated: December -1-.2007
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                                        David M. Bernick P.C.
                                        Janet S. Baer
                                        200 East Randolph Drive
                                        Chicago, lllinois 60601
                                        Telephone: (312) 861·2000
                                        Facsimile:     (312) 861-2200

                                        and

                                        PACHULSKl STANG ZIEHL & JONES LLP

                                                         £~
                                              Davis Jones (Bar No. 2436)
                                        J es E. O'Neill (Bar No. 4042)
                                        Timothy P. Cairns (Bar No. 4228)
                                        919 N. Market Street, 17th Floor
                                        P.O. Box 8705
                                        Wilmington, Delaware 19899-8705
                                        Telephone:    (302) 652-4100
                                        Facsimile:    (302) 652·4400

                                         Co-Counsel to Debtors and Debtors-in·Possession




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